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                  11                          UNITED STATES DISTRICT COURT
                  12                        SOUTHERN DISTRICT OF CALIFORNIA
F L E X N E R




                  13
                       IN RE: QUALCOMM LITIGATION             Case No. 3:17-CV-0108-GPC-MDD
                  14
                                                              [Consolidated with Case No. 3:17-CV-
                  15                                          01010-GPC-MDD]
S C H I L L E R




                  16
                                                              NONPARTY MEDIATEK, INC.’S
                  17                                          SECOND ADMINISTRATIVE
                                                              MOTION TO SEAL
                  18
                                                              CONFIDENTIAL INFORMATION
B O I E S




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                  20                                          The Hon. Gonzalo P. Curiel
                                                              Courtroom 2D
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                       MEDIATEK’S SECOND MTN TO SEAL                 Case No. 3:17-CV-0108-GPC-MDD
                   Case 3:17-cv-00108-GPC-MDD Document 1179 Filed 04/16/19 PageID.124179 Page 2 of 4



                  1           Pursuant to Civil Local Rule 79.2 and the Court’s Order Approving Stipulated
                  2    Trial Management Agreements [ECF No. 1149], Nonparty MediaTek, Inc. (“MediaTek”)
                  3    hereby respectfully submits this administrative motion requesting an order from this
                  4    Court protecting from public disclosure a single portion of the videotaped deposition
                  5    testimony (the “Designated Testimony”) of Finbarr Moynihan, MediaTek’s General
                  6    Manager, Corporate Sales & Business Development (Americas & Europe).
                  7                                        REQUEST FOR RELIEF
                  8           MediaTek respectfully requests an order sealing the Designated Testimony so that
                  9    it will not be displayed to members of the public during trial or published without
                  10   redactions in final, publicly-available trial transcripts and exhibits. MediaTek further
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                  11   requests that Exhibit 11 to the Second Declaration of James A. Unger, showing proposed
                  12   redactions to the transcript, filed herewith for the Court’s convenience, remain under seal.
F L E X N E R




                  13                                               ARGUMENT
                  14          Although MediaTek understands there is a presumption in favor of public access to
                  15   court records, the public’s right to access “is not absolute and can be overridden.” Foltz
S C H I L L E R




                  16   v. State Farm Mut. Auto. Ins. Co., 331 F.3d 1122, 1135 (9th Cir. 2003). Information to
                  17   be presented at trial may be protected from public disclosure where, as here, there are
                  18   “compelling reasons” as to why the confidential information should be sealed.
B O I E S




                  19   Kamakana v. City and County of Honolulu, 447 F.3d 1172, 1180 (9th Cir. 2006) (“[t]hose
                  20   who seek to maintain the secrecy of documents attached to dispositive motions must meet
                  21   the high threshold of showing that ‘compelling reasons’ support secrecy”). This Court
                  22   has recognized good cause to seal “confidential business information of the parties,
                  23   including trade secrets, proprietary business records, discussions of internal strategy,
                  24   company dealings, and materials designated as ‘Highly Confidential.’” In re Qualcomm
                  25   Litig., 2019 WL 845659, at *2 (S.D. Cal. Feb. 21, 2019) (Curiel J.).
                  26          Here, the information that MediaTek seeks to protect from public disclosure
                  27
                       1 While not designated for trial, MediaTek also requests lines 410:5-10 not be displayed publically or
                  28   published.
                                                     1
                       MEDIATEK’S SECOND MOTION TO SEAL                             Case No. 3:17-CV-0108-GPC-MDD
                   Case 3:17-cv-00108-GPC-MDD Document 1179 Filed 04/16/19 PageID.124180 Page 3 of 4



                  1    clearly meets the “compelling reasons” standard. The videotaped deposition testimony of
                  2    Mr. Moynihan contains highly confidential and competitively sensitive information
                  3    relating to commercial engagements with a potential customer. Sensitive, customer-
                  4    specific detailed communications meet the compelling reasons standard for sealing. See
                  5    Velasco v. Chrysler Grp. LLC, 2017 WL 445241, at *2 (C.D. Cal. Jan. 26, 2017) (noting
                  6    that courts have found compelling reasons to seal information relating to “a company’s
                  7    business model or agreements with clients”).
                  8          MediaTek has made diligent efforts to maintain the confidentiality of the testimony
                  9    it seeks to protect from public disclosure. The Court granted MediaTek’s motion to
                  10   redact some of the same information where it might otherwise be published in a trial
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                  11   exhibit. See [Dkt. No. 1172 at 30.] In the Designated Testimony, Mr. Moynihan is asked
                  12   to describe, and describes, the contents of trial exhibit PTX003296. The Court granted
F L E X N E R




                  13   MediaTek’s motion to redact the name of a confidential prospective customer as it
                  14   appears in that trial exhibit. (Id.) The same confidential prospective customer is named
                  15   and discussed in the Designated Testimony that MediaTek now moves the Court to
S C H I L L E R




                  16   redact. (Unger Decl. ¶ 5.)
                  17         Further, as Mr. Moynihan declared regarding the identity of that customer (as well
                  18   as other information MediaTek moved to seal), to MediaTek’s knowledge, that
B O I E S




                  19   “confidential information…[has] been treated by all involved parties as highly sensitive
                  20   competitive business information and [has] never been made public.” (Decl. of Finbarr
                  21   Moynihan [ECF No. 1116-2] ¶¶ 2-5.)
                  22         Moreover, MediaTek has narrowly tailored its request to seal, here requesting to
                  23   seal only one designated portion of deposition testimony. (See Unger Decl. ¶ 3.)
                  24
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                       MEDIATEK’S SECOND MOTION TO SEAL                    Case No. 3:17-CV-0108-GPC-MDD
                   Case 3:17-cv-00108-GPC-MDD Document 1179 Filed 04/16/19 PageID.124181 Page 4 of 4



                  1                                         CONCLUSION
                  2          For the foregoing reasons, MediaTek respectfully requests that the Court grant its
                  3    Motion to Seal and order the relief requested.
                  4
                       Dated: April 16, 2019                   Respectfully Submitted,
                  5
                  6                                            BOIES SCHILLER FLEXNER LLP

                  7
                                                               By: /s/ James A. Unger
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S C H I L L E R




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                       MEDIATEK’S SECOND MOTION TO SEAL                    Case No. 3:17-CV-0108-GPC-MDD
